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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

 

GWENDOLYN CLARK,
Plaintiff,

V. CASE NO.

DOLLAR GENERAL CORPORATION,
Defendant.

 

NOTICE OF REMOVAL
TO THE CLERK OF THE ABOVE-ENTITLED COURT:

PLEASE TAKE NOTICE that defendant, Doilar General Corporation, Improperly
Named, hereby removes to this Court the state action described below.

On February 22, 2021, an action was commenced in the Suffolk Superior Court,
entitled Gwendolyn Clark v. Dollar General Corporation, Civil Action No.:
2184CV00397.

Defendant, Dollar General Corporation, Improperly Named, was served with a
Summons on April 13, 2021, at Store Support Center, 100 Mission Ridge, Goodlettsville,
TN 37072 pursuant to M.R.C.P., Rule 4, and received a copy of plaintiff's Complaint
with Jury Demand, Civil Action Cover Sheet and Civil Tracking Order on same date.
Dollar General Corporation is not an entity registered to do business within the
Commonwealth of Massachusetts and as such, has been improperly named in this action.

A copy of all process and pleadings served upon defendant, Dollar General
Corporation, Improperly Named, in the state court action is attached hereto as Exhibit
se AP

This action is a civil action of which this Court has original jurisdiction under 28
U.S.C. $1332, and is one which may be removed to this Court by the defendant pursuant
to the provisions of 28 U.S.C. $1441 in that it is a civil action between citizens of
different states, and the matter in controversy is $1,000,000 exclusive of interest and
costs, as pled by the plaintiff based on alleged personal injury sustained by the plaintiff.
The plaintiff alleges that as a result of the occurrence she was caused to suffer serious
physical injury, medical expenses, great pain of body and mind, permanent impairment
and loss of function.

 
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Defendant, Dollar General Corporation, Improperly Named is informed and believes
that the plaintiff, Gwendolyn Clark resides in Hyde Park, MA and is a citizen of the City
of Boston, Suffolk County, in the Commonwealth of Massachusetts, as pled in the
Plaintiff's Complaint. Defendant, Dollar General Corporation, Improperly Named was at
the time of the filing of this action, and still is, a citizen of: Incorporated under the laws
of the State of Tennessee, having a principal office at 100 Mission Ridge, Goodlettsville,
TN 37072.

WHEREFORE, defendant, Dollar General Corporation, Improperly Named, prays
that this action be removed to the United States District Court for the District of
Massachusetts.

/s/ David A. White

David A. White, Esq.-BBO No. 551682
Davis & White, LLC

869 Turnpike Street

North Andover, MA 01845

(978) 688-1433

dwhite@daviswhite.com

Attorney for Defendant,
Dollar General Corporation, Improperly Named

Dated: 05/12/2021

 
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CERTIFICATE OF SERVICE

I, David A. White, Attorney for Defendant, Dollar General Corporation,
Improperly Named, certify that on May 12, 2021, I served the within Notice of Removal,
on Plaintiff, Gwendolyn Clark, electronically through the ECF system to the registered
participants pursuant to Local Rule 5.2(b) as follows:

Timothy J. Lowney, Esq.
Stewart W. Steele, Esq.
LOWNEY LAW, LLC
1234 Hyde Park Ave.
Suite 102

Hyde Park, MA 02136
tuum@lowneylaw.com

stewart(@lowneylaw.com

/s/ David A. White
David A. White

 
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EXHIBIT A

 
a.

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Commonweatth of Massachusetts

SUFFOLK, $8. . TRIAL COURT OF THE COMMONWEALTH
SUPERIOR COURT DEPARTMENT

cvicpoctHiAe AY evo034d

Gwendolyn Clark

 

, PLAINTIFF(S),
v.
CAR Of Gow 3
Dollar General Corporati ge MD ANTS 5] ; panid Cate 3.20 2
Goodlettsville, TN SUMMONS _ &sG__ 5.

THIS SUMMONS IS DIRECTEDTO __-PO#4ar General Corporation (petendant’s name}

You are being sued. The Flaintiff(s) named above has started a lawsuit against you. A copy of the

_ Plaintiff's Complaint filed against you is attached to this summons and the original complaint has been

filedinthe_ Suffolk Superior Court. YOU MUST ACT PROMPTLY TO PROTECT YOUR RIGHTS.

You must respond to this lawsutt in writing within 20 days. Ifyou donot respond, the court may decide
the case against you and award the Plaintiff everything asked for in the complaint. You will also lase’the
opportunity to tell your side of the story. You must respond to this lawsuit in writing even if yau expect
to resolve this matter with the Plaintiff. If you need raore time te respond, you may request an
extension of time in writing from the Court.

How to Respond. To respond io this lawsuit, you must file a written response with the court and maila
copy to the Plaintiff's Attorney for the Plaintiff, if unrepresented). You can do this by: , 7

Filing your signed original response with the Clerk's Office for Civil Business, Suffolk Supgitor '

3 femberton Sao, og_{address), by mail or in person, AND

b.

Delivering or mailing a copy of your response to the Plaintiff's Attorney/Plaintift at the following
address: —-s Timothy J. Lowney, 1234 Hyde Park Ave Ste 102, Hyde Park, MA 02136
What to include in your response. An “Answer” is one type of response to a Complaint. Your Answer _,
musi state whether you agree or disagree with the fact( (s} alleged in each paragraph of the Complaint.
Some defenses, called affirmative defenses, must be stated in your Answer or you may tose your right to
use them in court. If you have any claims against the Plaintiff (referred to as counterclaims) that are
based on'the same facts or transaction described in the Complaint, then you must include those claims
in your Answer. Otherwise, you may [ose.your right to sue the Plaintiff about anything related to this
lawsuit. If you want to have your case heard by a Jury, you must specifically request a fury trial in your
Answer or in a written demand for a jury tral that you must send to the other side and file with the
court no mere than 10 days after sending your Answer. You can also respond to a Complaint by filing a
“Motion to Dismiss,” if you believe that the complaint is legally invalid or legaily insufficient. A Motion
to Dismiss must be based on ane of the legal deficiencies or reasons listed under Mass. R. Civ. P. 12, If
you are filing a Motion to Dismiss, you must also comply with the filing procedures for "Civil Motions”
described in the rules of the Court in which the complaint was filed, available ; at

WWW. Mass.gov.courts/case-legal-res/rules of court.

 

 
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Cc
CIVIL TRACKING ORDER DOCKET NUMBER Trial Court of Massachusetts
(STANDING ORDER 1-88) 2184CV00397 The Superior Court

 

 

 

CASE NAME:

. Michael Joseph Donovan, Clerk of Court
Clark, Gwendolyn vs. Dollar General Corporation eee es woo,

 

TO Timothy Jay Lowhey,Esq. . | SOHRTNAME&ADDRESS
Lowney Law LLC: . . . _ Suffolk County Superior Court - Civil
; Suffolk County Courthouse, 12th Floor
1234 Hyde Park Ave
. Three Pemberton Square
Suite 102

Boston, MA 02108
Hyde Park, MA 02136

 

 

TRACKING ORDER - F - Fast Track
You are hereby notified that this case is on the track referenced above as per Superior Court Standing

Order 1-88. The order requires that the various stages of litigation described below must be completed not later
than the deadlines indicated.

STAGES OF LITIGATION DEADLINE

 

_| SERVED BY FILED BY HEARD BY

   

 

 

Service of process made and return filed with the Court 05/24/2021

 

 

 

   

 

 

 

Response to thé complaint filed (also see MRCP 12) - "06/22/2021: -
All motions under MRCP 12, 19, and 20 06/22/2021 | 07/22/2024 08/23/2021
Al motions under MRCP 715 06/22/2024 07/22/2024 - 08/23/2021

 

  
  
 

All discovery requests and depositions sérved and non-expert

depositions completed 12/20/2021

 

All motions under MRCP 56 01/18/2022

  
 
  

02/17/2022

 

Final pre-trial conference held and/or firm trial date set 06/17/2022

 

 

 

Case shall be resolved and judgment shall issue by 02/22/2023

 

 

 

 

 

4

The final pre-trial deadline is not the scheduled date of the conference, You will be notified of that date at a later time.

Counsel for plaintiff must serve this tracking order on defendant before the deadline for filing return of service.

This case is assigned ta

 

 

DATE ISSUED ASSISTANT CLERK PHONE

02/22/2024 Margaret M Buckley (617)788-8110

 

 

 

 

DalterTime Printed: 02-22-2021 19:83:42 Scvozs\ 08/2018

 
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CIVIL ACTION COVER SHEET DOGKET NUMBER Trial Court of Massachusetts 4
. - The Superior Court é
PLAIN TIFF(S): Gwendolyn Clark COUNTY
Suffolk
ADDRESS: 14 Taunton Ave, Hyde Park, MA 02736
DEFENDANT(S}):  — Dallar General Corporation
ATTORNEY: Timeihy J. Lowney
ADDRESS: 1234 Hyde Park Ave Ste 102, Hyde Park, MA 02136 ~ , ADDRESS: 100 Mission Ridge, Goodlettsville, TN 37072
BaO: 644433
TYPE OF ACTION AND TRACK DESIGNATION (see reverse side)
CODE NO. TYPE OF ACTION (specify) TRACK HAS A JURY CLAIM BEEN MADE?
B20 Personal Injury - Slip & Fall F YES [| No
*H Other” please describe: ,
Is there a claim under G.L. c. 934? Is this a class action under Mass. R. Civ. P. 237 -
[| YES NO [| YES NO

STATEMENT OF DAMAGES PURSUANT TO GL. c. 242, § 3A

The following is a full, itemized and detailed statement of the facts on which the undersigned plaintiff or plaintiff's counsel reties to determine money damages.
For this form, disregard double or treble damage claims; indicate single damages only.

TORT CLAIMS
{aitach additional sheets as necessary)
A, Documented medical expenses to date:

 

  
 
  
 

4. Tatal hosaltal expenses 00.0000... git 807.67
2. Total doctor expenses ....... 5

3, Total chiropractic expenses ,..... serra BO
4, Total physical therapy expenses .........c.cscssesscsecrcereseccecceees pester BO

5. Total other expenses (describe below) see neseaeeiusenetoccescnnetanurnspessnetan nn uanacanietsetececeatecetessareneessusrintadmatetdiestseensercnnperisteepererianana — G
Subtotal (4); GUA a?
B. Documented lost wages and campensation to date Ser eepeaeeeanasvansatetatesencessnensesneens ties rd rabeundneunnndttotaseneasnenreveaaproneaneranisiiisedistieniessedscensecennaeee Be
G. Documented property damages to Cater .,..4...-s.scesssssevesssssesssneeessntesceusessorsstesustsusssanesssnsesuenetsauesatrsersstsbeseststeasesutesssussevissanseroeusssapscescoses, 5
D. Reasonably anticipated future medical and hospital expenses «04... ee BSE
E, Reasonably anticipated fost Wages oo... cee cesesceersneees . §
F, Other documented items of damages (clescribe DelOW) ose ssssssecssstscsssseccosscccnseesenssesneessssensusasssvensvacsersseecceceussussastsusnstuarssssseasetsnecsesctes $

G. Briefly describe plaintiffs injury, including the nature and extent of injury:

Fight rotator cuff tendinopathy, cervical spondylosis, bruised ribs, headaches, right elbow medial epicondylitis, back pain,
TOTAL {A-F):$1 000,000.00
trapezius, lalissimus dorsi muscle strain, right arm paln eS

CONTRACT CLAIMS
{attach additional sheets as necessary)
| This action includes a claim involving collection of a debt incurred pursuant to a revolving cradlit agreement Mass. R, Civ. P. 8.1fa),
Provide a detailed description of claim(s):
TOTAL: $ 1,009,000.00

Signature of Attorney/ Unrepresented Plaintiff: X - LD OF Date: 2 { 2h {2021

RELATED ACTIONS: Please provide the case number, case name, and dounty of any related actions pending in the Superior Gourt,

 

 

CERTIFICATION PURSUANT TO SJCG RULE 1:18
I hereby certify that | have complied with requirements of Rule 5 of the Supreme Judicial Court Uniform Rules on Dispute Resolution (SJC
Rule 1:18) requiring that | provide my clients with information about court-connected dispute resolution services and discuss with ther the
advantages and disadvantages of the various methods of dispute n

   

Signature of Attorney of Record: X LZ

ae Yo

Date: 2 Z2-BF> }

 

 

 
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COMMONWEALTH OF MASSACHUSETTS

 

 

SUFFOLK, ss. SUPERIOR COURT DEPARTMENT
CIVIL ACTION NO.

)
GWENDOLYN CLARK }
Plaintiff )
Vv. ) COMPLAINT
DOLLAR GENERAL }
CORPORATION )
Defendant }

)

PARTIES
1, Plaintiff Gwendolyn Clark (hereinafter referred to as “Plaintiff’) is an individual

residing in Hyde Park, Suffolk County, Massachusetts.
Defendant Dollar General Corporation (hereinafter referred to as “Defendant”) is a
corporation organized under the laws of Tennessee with a store location in Hyde
Park, Suffolk County, Massachusetts.

COUNT I

On or about February 28, 2019, Plaintiff was entering the Dollar General store
located on River Street in Hyde Park (“Premises”).

Said Premises were owned by Defendant.

At the same time and place, Plaintiff slipped and fell on uncleared snow and/or ice on,
the sidewalk in front of the store.

Defendant was responsible to clear or remedy snow and ice from the sidewalk in front
of the store within a reasonable timeframe or as: required by law.

Defendant, its agents, servants; and/or employees failed to clear or remedy snow and
ice from the sidewalk in front of the store within a ‘reasonable timeframe or as
required by law.

Defendant, its agents, servants, and/or employees failed to maintain the Premises ina
reasonably safe condition.

Defendant, its agents, servants, and/or employees failed to pr operly and visibly warn
customers of the dangerous condition.

 
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As aresult of the negligence of Defendant, Plaintiff was caused to suffer serious
personal injury, medical expenses, great pain of body and mind, permanent
impairment and loss of function.

Defendant is liable to Plaintiff for her damages,
COUNT I

Plaintiff re-states each and every allegation in patagraphs 1 through 11 as if set out
fully herein.

Defendant, its officers, agents, servants, and/or employees were negligent in failing to
provide for proper procedures, guidelines and standards for customer safety, or,
having established such procedures, guidelines, and standards, in failing to enforce
same; and/or in failing to properly hire, train, supervise, oversee, and manage
customer safety.

Defendant is liable to Plaintiff for her damages.

' WHEREFORE, Plaintiff demands the following relief:

l.

3.

That the Court enters judgment for Plaintiff against Defendant Dollar General
Corporation.

That the Court enters an award of darnages for Plaintiff in an amount commensurate
with her damages.

That the Court grants Plaintiff such other relief as is just and proper.

PLAINTIFF DEMANDS A TRIAL BY JURY OF ALL ISSUES SO TRIABLE IN THE

COMPLAINT.
Plaintiff Gwendolyn Clark
By her attorneys,

Dated: February 19, 2021 /s/ Timothy J, Lowney

 

Timothy J. Lowney, Esq. (BBO #644433)
Stewart W. Steele, Esq. (BBO # 698121)
LOWNEY LAW, LLC

1234 Hyde Park Ave, Suite 102

Hyde Park, MA 02136

(617) 364-8000

tin@lowneylaw.com
stewart@lowneylaw.com

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